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                                                               FILED: May 10, 2010

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

                                    ___________________

                                      No. 07-4059 (L)
                                    (8:04-cr-00235-RWT)
                                    ___________________


        UNITED STATES OF AMERICA

                                 Plaintiff - Appellee

        v.

        LEARLEY REED GOODWIN, a/k/a Goodie, a/k/a Lonnie Ross

                                 Defendant - Appellant

                                    ___________________

                                         O R D E R
                                    ___________________

              Upon review of submissions relative to the motion for stay

        pending appeal, the Court denies the motion.



                                            For the Court

                                            /s/ Patricia S. Connor, Clerk
